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                                                                                               18-017793


                         UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION
 
    IN RE:                                              CASE NO.: 18-15891-LMI

    MAURICE SYMONETTE                                   CHAPTER: 7

      Debtor(s)
__________________________/



    HSBC BANK USA, N.A. AS TRUSTEE FOR NOMURA HOME EQUITY LOAN, INC.,
      ASSETBACKED CERTIFICATES, SERIES2007-1’s NOTICE OF PROPOUNDING
              DISCOVERY REQUESTS UPON DEBTOR, MAURICE SYMONETTE


        YOU ARE HEREBY NOTIFIED that HSBC BANK USA, N.A. AS TRUSTEE FOR
NOMURA HOME EQUITY LOAN, INC., ASSETBACKED CERTIFICATES, SERIES2007-1,
by and through its undersigned counsel, has propounded its First Set of Interrogatories, First Request for
Admissions, and Request for Production upon Debtor, MAURICE SYMONETTE.
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                                       CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was provided via electronic
and/or regular U.S. Mail to the parties on the attached service list, this 11th day of July, 2018.

SERVICE LIST
Maurice Symonette (via regular mail)
14100 NW 14 AVE
Miami, FL 33167

Joel L. Tabas
25 SE 2nd Avenue
Suite 248
Miami, FL 33131

Office of the US Trustee
51 S.W. 1st Ave.
Suite 1204
Miami, FL 33130

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                                                            Attorney for Secured Creditor
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                                                            By: /s/ Jeffrey S. Fraser, Esq.
                                                            Jeffrey Fraser
                                                            Florida Bar No: 008589
JF - 18-017793
